       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    Mehrangiz Kar and Azadeh Pourzand,

                                    Plaintiffs,

                          vs.                         Case Number: 1:19-cv-02070-JDB

    The Islamic Republic of Iran et al.,

                                   Defendants.



                           DECLARATION OF LILY POURZAND

COMES NOW Lily Pourzand and states as follows:

     1. I was born in Tehran, Iran in 1975.

     2. I am a citizen of Canada, residing in the city of Toronto.

     3. I am the daughter of Siamak Pourzand and Mehrangiz Kar, as well as the sister of

Azadeh Pourzand.

     4. Ever since I was born, my father and I have shared a close bond. My father always

thought I looked like his mother, so he felt like I replaced her. He always said I was his “savior,”

so he made me feel like someone important in his life.


                                           Background

     5. During the Revolution, in 1979, my father was one of the head editors of a Kayhan

newspaper. Due to his liberal views, he became a target for the government. A few days after the

start of the Revolution when I was about three and a half years old, I remember hearing

traumatizing, loud sounds outside – it was violence and explosions. I remember shooting,




                                                  1

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 2 of 14




yelling, and armed guards on the street. My father was holding me and we were running. We

heard shooting, but my father insisted on going to his office to get some belongings. He was able

to retrieve some of his personal belongings. Later that day, he left us to hide for a potential

arrest. He was in hiding for about 5 months.

     6. A few months later my father came back, but he basically had to live in hiding in order to

save his life. When he returned, his appearance and demeanor had completely changed: he lost

weight, he had a beard, and he had developed back problems.

     7. My father continued his life “underground”; unable to continue his journalism work and

away from the public eye. I was with him all the time while my mother worked. I remember his

friends who would come to visit and the stories his friends told. They probably assumed that I

didn’t understand because I was a child, but I remember hearing descriptions of scenes like

bullets being fired at people and dead bodies. Little by little, so many people were executed by

the regime or left the country as they became targets of the regime.

     8. My father and I always shared such a deep bond. He was not like the other fathers; my

father was basically the caregiver. He would wake up early to pack my bag for school and to do

my hair. He was very good at making me feel comfortable about expressing my emotions, my

secrets, and to reassure me that these things were okay - that they were normal. We even had our

own way of communicating. He introduced me to so many aspects of Western culture from

different eras, teaching me dances like the tango and the waltz. With small things, he was trying

to give me a little bit of joy and open up my world which had shrunk too small during the

Revolution.

     9. I became a target of pressure due to my parents’ political actions, so I felt I had to leave

the country - otherwise I could be killed by government agents in order to stop my parents’ work.




                                                 2

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 3 of 14




As a result, I left Iran and moved to Canada at the end of 1999 without a plan – just $500 and a

visitor visa. A year and a half later in 2000, my mother was arrested and simultaneously

diagnosed with cancer. That year, at 25 years old, I risked my life and went back to Iran to visit

my mother when I was told she might not survive. The trip was brief, but I found solace in

seeing my parents during that time. Upon return to Canada I had nightmares: one being filled

with horrible, vivid scenes where my father was being buried alive right in front of me. A couple

hours after waking from that nightmare, my father called to tell me that he had noticed

motorcycles following him.


                                 My Father’s Abduction
     10.       Two days after that call from my father, on November 29, 2001, I received a

phone call from my aunt informing me that my father had been kidnapped. I was horrified, but I

thought this was going to be like the previous times he had been arrested and released shortly

thereafter. This time, however, was different.

     11.       With that call in November 2001 informing me of my father’s arrest, my life

changed completely. I was the first in my family to hear the news from my aunt, so I had to let

my mother and sister know. From then on I had to take on the role of advocate for my father and

the risktaker for the family in the media, conducting a slew of interviews. My father had

previously been arrested when I was a child. Every arrest was horrifying, but I didn’t think at this

point that we would be dealing with this for a lifetime.


                        My Father’s Detention and Torture
     12.       One night around March 2002, about six months after the kidnapping, I received a

message on my cell phone from my father: “Don’t interview with anyone. Please, I beg you.



                                                 3

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 4 of 14




Don’t do that. Consider me dead.” His voice was broken and there was so much background

noise. Despite my father’s pleas, I told my mother that I could not keep quiet about his situation.

Even though my mother did not agree, I wanted to broadcast the message. I felt I had to – it was

my duty to my father, to do anything to help get him out of that Godforsaken prison.

     13.       After that message, I received no news directly from my father for many months.

Instead, we received news from former prisoners who were previously detained with my father,

or my father told me stories afterwards.        After I broadcasted his voice on the internet,

government authorities took him to another location – I think it was maybe the basement of a

house under construction. There, he was forced to watch authorities beat, lash, hang, and burn

other prisoners, which caused my father to suffer from nightmares. They hung my father from

the ceiling for hours, depriving him of anything and everything. He had no access to light or

fresh air. Minimal food. A former prisoner even told us, “It’s been ten months since he didn’t

have any fruit to eat,” so in my next interview, I said that too. I said, “here is a 72-year-old man

who doesn’t have access to anything – nothing, not even a lawyer, forget about injustice. Not

even fruit!”

     14.       Many years later he told to me that after that interview, they started to punish him

by force feeding him cucumber to the point that he almost suffocated. For ten days, they were

bringing bags and bags of cucumbers to his room. Three to four guards sat on his chest and

forced him to eat it. If my father refused, they beat him up. They were telling him that ‘Now you

can tell your daughter you had enough fruit’. Since then, I cannot eat cucumber. I lived with the

constant guilt of feeling it was I who forced him. I was trying to help him but as a result, they

only tortured him more.




                                                 4

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 5 of 14




     15.        Then in July 2002, my father was forced to falsely ‘confess’ on television, telling

lies about himself, his wife, his brother, other journalists and political activists. At the time, I was

on bed rest following a major surgery. Watching him telling false stories when he had lost so

much weight, with timid eyes, and a frightened gesture, was devastating for me. I couldn’t

imagine what would come next: is he going to be executed? What should I do now? How can I

help him? I was sick to my stomach. I could see what they did to him that he is telling that many

lies on public television. That reality hurt me to my core. I knew what Iran was capable of doing,

and I knew what Iran did to similar individuals who publicly testified against their own interests

and others. I knew how harsh Iranian government was to break individuals’ wills to testify

publicly. While I didn’t know exactly what happened my father, it was not hard to imagine.

     16.        Years later my father explained to us how the day before his forced “confession”,

the judge Mr. Zafarghandi himself shaved my father’s face with a dry razor, injected him with an

unknown drug without his consent, and fed him. Then took him to Zafarghandi’s office and gave

him the questions and answers, then reviewed the process with him that he had to stick with

those answers. They had been practicing before that day. He had to make sure he was presenting

it exactly as they wanted, and he had to do it a few times beforehand to “get it right”. Mr. Dabir

Daryabigi, who was his interrogator, was sitting next to him pretending that he was my father’s

lawyer. After the confession, they took him back to the secret detention center again. After I

watched that spectacle, I was so afraid - I thought they were going to kill him. As a result, my

body reacted to the trauma and I ended up in the hospital with a massive infection. My body was

reacting to both the surgery and the trauma.

     17.        Over the years, former prisoners who had been imprisoned with my father

explained to us the type of treatment he received. For example we found out that at times, from




                                                   5

                                                                 Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 6 of 14




unknown and random directions, Iranian authorities would spray him and fill the floor of his cell

with scalding hot water, forcing him to hide in a corner. We also found out that they were putting

him in a freezer room and then bringing him out only if he would ‘confess’ to crimes. Hearing

that was too much for me. I couldn’t bear hearing the kinds of torture my father was enduring. In

the winter, I would force myself onto the balcony of my apartment in the middle of winter,

forcing myself to stand in the cold to feel even just a small fraction of what my father was going

through.

     18.       When he was under house arrest on a few nights that was not feeling well my

father talked to me, as he forgot that the Iranian agents were listening to his words. I had only a

few opportunities to record conversations that I had with him when he was telling me what has

happening to him. What he told me was frightening. It was not easy to listen to, but I had to be

strong to continue and get his story.


                          My Father’s Temporary Release
     19.       In fall 2002, the EU and Iran wanted to make a political and financial deal. As

part of the deal, Iran agreed to temporarily release my father from prison on medical furlough in

November 2002. During that period, I would talk to him for hours and hours. I had a journey

with him because it had been ten months that he had been deprived of human contact and

facilities. In prison, he wasn’t allowed to shower for more than four months. He came out of

prison with the same clothes he entered. He had broken teeth and broken glasses. He had been

tortured. Everything he had was gone. He was humiliated. Basically his dignity was gone, he was

mentally was broken to pieces, so he couldn’t think straight at all.

     20.       He stayed with my aunt during that time and for the first few nights, I started to

talk to him on the phone. He was so shaken, he didn’t even know how to hold the phone


                                                 6

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 7 of 14




anymore. I realized that he had lost the ability of going to the bathroom. He had forgotten how to

shower. I had to stay with him on the phone and give him a bath, basically, over the phone, from

this side of the world. I had to potty train him over the phone as well. I was staying on the phone

with him and guiding him: walking him to the bathroom, telling him what to do, how to sit on

the toilet, how to do his job, how to clean up, how to wash, and how to get out. These were all

very private conversations between my father and me.

     21.       One day I received a call from my aunt. She was frustrated. She had two teenage

girls and never thought she would have to take care of a crazy person who couldn’t perform

basic functions. Being in prison had absolutely ruined him. My aunt was angry and sad - she just

couldn’t handle it. She said she was trying to make eggs in the morning and my father was

talking to the eggs for half an hour, not letting her eat her breakfast. I was listening to her tell me

this while sitting at work on the phone on the other side of the world. I could hear him talking to

the egg and the noise it makes when you fry it. From far away, I felt completely powerless –

there was nothing I could do at that moment in time to help out my aunt.

     22.       After four months, government authorities took my father back after the financial

contract was signed between Iran and the European Union. This time they took him to the

notorious Evin Prison. In Evin Prison, authorities continued to interrogate and torture my father,

and even threatened him with execution. My father got sick in prison, so we sent money for his

treatments and then we had to beg the government to provide him with medical support. For my

mother and I, it was a large amount of money that we had to send every month. I had to work

hard and take on extra hours of work to be able to afford what we sent. When the government

could no longer keep my father in prison because of his medical state and his need for care, they

finally sent him to the hospital.




                                                  7

                                                                 Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 8 of 14




                                  My Father’s House Arrest
     23.       Finally, my father was placed under medical leave in 2004. During this time, he

was serving his sentence under house arrest, with full surveillance. But we could call him, and

telephone calls were my father’s lifeline. I spoke to him constantly in order to keep him

motivated and make sure he was being taking care of with his medication and other necessities.

Sometimes I was on the phone with him for eight to ten hours a day. I tried to make him feel less

alone and that I was there with him. There was an eight-hour time difference between Toronto

and Tehran. From the time I woke up until I left for work - eating breakfast, taking a shower – I

was always speaking to my father. Any break I had from work, I was speaking to him. On my

way back home from work, I was speaking to him.

     24.       Every night, I made sure I spoke to my father before he went to sleep to “send

him to bed.” I would even sleep on the floor so that I wouldn’t sleep too deeply in order to be

able to answer the phone in case my father ever called during the night and also to give my

partner the space and privacy of a full night’s rest. These disruptions caused me to have a major

sleep disorder that continues to affect me. To this day, there is still no night when I sleep through

the night without interruption.

     25.       In the summer of 2005, I had a major nervous breakdown and ended up in the

hospital. The doctors connected me with a specialist who put me on pills. However, it didn’t take

long for me to realize that none of those medications were working for me. Nevertheless, I took

medication for years. As a result, I gained 50 pounds. I couldn’t focus or concentrate. At one

point, I was so distracted that I even burned myself with my tea, resulting in third-degree burns.

After a couple years, I stopped taking the medication altogether and then went through a painful

and dangerous withdrawal period.



                                                 8

                                                                Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 9 of 14




     26.       My father’s health deterioration and my own situation sent me into a financial

hole. I was keeping the condo I had bought for a day that my father may have an opportunity to

leave Iran and come to Canada. However I could not deal with my expenses, and supporting my

father in Iran as well so I decided to sell the condo, which then caused enormous guilt, worrying

that my father was disappointed that he had lost a possible refuge. Additionally, I had to put my

studies on pause for another two years. During that time, I was fueling all my time and energy

into trying to find routes to my father’s freedom.

     27.       Throughout his years of imprisonment, my father was emotionally and mentally

drained every day. He eventually begged authorities to return him to prison, as it would have

been less torturous than constantly fearing being returned to prison at any moment. After the

Iranian Green Movement in 2009, he witnessed so many youths being killed on the street. One of

his neighbors committed suicide after a big demonstration in Tehran. His emotional health was

severely declining. I felt I was the only source keeping his mental health going. I tried to talk to

him more and more to keep him alive, motivated, and perhaps hopeful, but I could only do

limited work from a distance.

     28.       During my father’s house arrest he was under constant control, his

communications and whereabouts always had to be reported to his prosecutors and interrogators

constantly. He had to answer interrogators questions about the content of his conversations with

his families and friends. He was constantly in fear and anxiety. He was never sure if he acted

properly, or whether he had done something wrong. This constant state of fear and anxiety

caused him more medical and psychological issues to the point that he was admitted to a mental

hospital several times, making his health deteriorate significantly. There were few times that, due




                                                 9

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
      Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 10 of 14




to his constant mental anxiety and fear, he said that he would be better off in jail since he would

no longer have the fear of the unknown.

     29.        He had a few meetings with his interrogators, prosecutors, or both in person. In

addition, he had multiple calls per day to report his activities and conversations to them.

     30.       He knew his apartment was watched and listened in on. He was well aware that

the building bellman was an informant. He knew his nurse and caregiver were also agents or

informants. He felt trapped, watched, naked, and very close to going back to the same brutal

interrogation when they tortured him 24 hours a day.

     31.       During his house arrest, he could not sleep for long hours. He always woke up at

dawn because that’s the time his torture used to either restart or take a new form. He was so

scared of dawn. I had to call him to talk to him, make sure he is calm, and only then would he

sleep for a few hours. It was my daily routine - I did this every day. He could not sleep without

fear even for one night.


                                    My Father’s Death
     32.       April 25, 2011—it was the middle of the night in Tehran—I was speaking to my

father on the phone, it was early morning as usual, he said he couldn’t sleep. He told me he had

terrible anxiety. Our conversation was relatively normal, nothing indicating that this would be

our last conversation. We decided that he was going to go to bed and to check back with me in

two hours (That was 10:00 p.m. in Canada, early morning hours in Iran). I slept on the hard floor

again so that I wouldn’t fall asleep too deeply, in case he needed to talk to me. I woke up two

hours later and called him, but he didn’t pick up. I thought he had probably fallen asleep. At

about noon his time, I called a second time, but again he did not answer. At around 5:30 pm his

time, I called yet again. This time, an unidentified person answered the phone.


                                                 10

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
      Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 11 of 14




            ‘He’s dead!’ yelled the speaker after I asked for my father. Then, the speaker passed
        the phone to the building caretaker.

            ‘What is going on??’ Bewildered, I pleaded with the speaker.

            I could hear the speaker crying as he replied, ‘Your dad died a few hours ago.’

            ‘Did he die in peace?’ That was my first question.

            Nobody responded. They had hung up the phone.

           I was screaming, crying. I couldn’t navigate what was happening. Did he die in
        peace? Was it a heart attack? I called back immediately, and the caretaker of my father’s
        apartment building answered the phone. “What is happening?’ I asked him.

            “He died. He threw himself off the balcony.”


     33.       I was stunned, shocked, speechless. It was so beyond my imagination for my dad

to commit suicide when we had a normal conversation only a few hours earlier. I was sure that

they were not telling the truth. I knew it could not be true. I was asking myself: What should I

do? What would I tell my family? I couldn’t believe it. I couldn’t move. I couldn’t breathe. How

could we let this happen to my father? Then I went from shock to panic. At one point, my friend

had to physically hold me and sit on top of me, as I tried to go jump off the balcony myself.

     34.       As the first one to hear about my father’s death, I was forced to take some control

over the situation. That night, I had to break the news to my family. Eventually, I became the

media point of contact, handling all press inquiries related to his death.

     35.       Even after his death, the Iranian government would not allow my father to be free.

The authorities would not release his body. They were going to bury him in an unknown section

of the cemetery. We tried to carry out an investigation into my father’s death, but the government

would not allow any investigation outside of the one carried out by the court, which was biased

and suspicious, and not complete. We had no faith on an Iranian run investigation for my father’s



                                                 11

                                                                Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
      Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 12 of 14




death, since Iranian authorities are the main suspect. We knew they may start a phony

investigation to hurt more innocent people. My mother was worried about innocent individuals

being interrogated and beaten up as a show by Iranian authorities. Furthermore, Iran wouldn’t

release my father’s body while the investigation was pending. Thus, we decided to accept the

Iranian report that he jumped out of his window, to first protect innocent individuals form brutal

interrogations by government and second to secure a burial of my father.

     36.       I refuse to accept that my father had committed suicide. He could not hide a plan

like this from me– especially someone like my father with that kind of emotional dependency on

me at the time. He would have known it was his last call and somehow made it known. In the

two hours that we said we would speak again, early in the morning, something must have

happened that he could not even call me for the last time. The government authorities did not

want my father to leave Iran. Often, the government allows political prisoners to leave the

country, where their influence and power in Iranian decreases, and the problem eventually

“disappears.” The authorities, however, would not allow this for my father. They did not want

him to leave. The reason they did not want him to leave is because he was a witness to secret

prisons and experienced such levels of torture that they did not want exposure to their inhumane

practices – which have gone on for decades and continue to this day. My father had all these

secrets; it was an inhumane level of torture that he received.

     37.       In the aftermath of my father’s death, I suffered another round of excruciating

shock. I quit my job because I couldn’t handle the trauma and get through my workday at the

time. I am still traumatized to this day. I cannot face my father’s picture. I am still sensitive to

heights. And I still feel a recurring temptation to go to the balcony, look down, and wonder what

my father must have endured that fateful night.




                                                  12

                                                                 Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
       Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 13 of 14




     38.       My father’s years of detention affected all aspects of my life and that of my

mother and my sister, Azadeh - we struggled with the constant weight associated with his

captivity. Throughout this ordeal, I was closely tied to my mother and my sister, but I was a

separate entity. I had to take care of myself, care for my father’s wellbeing, and provide financial

support to my family. They were always seeing me as a person who suffers. I was usually

someone who was quiet all the time, trying to hide my pain from them because I was sure my

suffering only caused my mother and my sister more pain throughout my father’s years of

detention and the excruciating aftermath.

     39.       Since his arrest until they killed my father, my father was under extreme mental

and physical torture. Iran destroyed my father’s life, and my family’s life. Our life has been

consumed by this tragedy since his arrest until today. My family and I are perpetual victims of

Iranian brutal and inhumane treatment.

     40.       Around 2008 or 2009, I remember my father told me: “When I die, it is on you to

bring this case to justice.” My father wanted justice, one way or another, inside Iran or out.



I declare and can competently testify under penalty of perjury that the foregoing is true and

correct.


   Executed this ___25th__ day of ___August___, 2021.



                                                      __________________________________

                                                      Lily Pourzand




                                                 13

                                                               Doc ID: beeb04d52f4684ecafe5c4eef9169f13304e7f15
             Case 1:19-cv-02070-JDB Document 20-13 Filed 09/02/21 Page 14 of 14

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